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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                              )
                                                       )
                                  Plaintiff,           )
                                                       )
v.                                                     )    Case No. 12-20099-01-KHV
                                                       )
MENDY READ-FORBES,                                     )
                                                       )
                                  Defendant.           )

                                                 ORDER

        Before the court is the motion of defendant’s local counsel, John R. Osgood, for pro

hac vice admission of attorney David Jay Bernstein, of Deerfield Beach, Florida, pursuant

to D. Kan. Rule 83.5.4 (ECF doc. 292). As required by Rule 83.5.4(a)(4), Mr. Bernstein

submitted an affidavit in support of the motion.1 In the affidavit, Mr. Bernstein disclosed that

he “received a public reprimand from The Florida Bar for failure to supervise an employee.”2

The court thereafter contacted Mr. Osgood and asked him to file the reprimand issued by the

Florida Bar, which he did (ECF doc. 296-1).3

        The court has reviewed the reprimand, which approved a conditional guilty plea and

consent judgment.4 The conditional guilty plea and consent judgment indicates that on two


        1
         ECF doc. 292 at 3–6.
        2
         Id. at 5.
        3
       Defendant’s motion to supplement the pro hac vice motion with the Florida Bar
reprimand (ECF doc. 296) is granted.
        4
         ECF doc. 296-1.

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occasions, Mr. Bernstein failed to properly supervise his firm paralegal, who took action on

client matters without informing Mr. Bernstein of the existence of the client. It further

indicates that on one occasion, Mr. Bernstein disseminated a direct-mail letter that violated

various rules of the Supreme Court of Florida. These ethical violations concern the court.

Even more concerning is Mr. Bernstein’s failure to disclose the direct-mail violation in his

affidavit in support of pro hac vice admission.

        However, against these considerations, the court must weigh the defendant’s

“constitutional right to counsel of choice.”5 In United States v. Collins, the Tenth Circuit

explained a criminal defendant’s constitutional right to choose her counsel as follows:

        The sixth amendment guarantees that ‘[i]n all criminal prosecutions, the
        accused shall ... have the Assistance of Counsel for his defense.’ U.S. Const.
        am. VI. ‘It is hardly necessary to say that, the right to counsel being conceded,
        a defendant should be afforded a fair opportunity to secure counsel of his own
        choice.’ Powell v. Alabama, 287 U.S. 45, 53, 53 S.Ct. 55, 58, 77 L.Ed. 158
        (1932). The right to retain counsel of choice stems from a defendant’s right
        to decide what kind of defense he wishes to present. United States v. Nichols,
        841 F.2d 1485, 1502 (10th Cir. 1988). “Attorneys are not fungible;” often “the
        most important decision a defendant makes in shaping his defense is his
        selection of an attorney.” United States v. Laura, 607 F.2d 52, 56 (3d Cir.
        1979); Nichols, 841 F.2d at 1502. When a defendant is financially able to
        retain counsel, the choice of counsel rests in his hands, not in the hands of the
        state. United States v. Richardson, 894 F.2d 492, 496 (1st Cir. 1990); Wilson
        v. Mintzes, 761 F.2d 275, 280 (6th Cir. 1985). A defendant’s right to retain
        counsel of his choice therefore represents ‘a right of constitutional dimension,’
        United States v. Cunningham, 672 F.2d 1064, 1070 (2d Cir. 1982), the denial
        of which may rise to the level of a constitutional violation, Birt v.
        Montgomery, 725 F.2d 587, 592 (11th Cir.) (en banc), cert. denied, 469 U.S.


        5
        United States v. Collins, 920 F.2d 619, 626 (10th Cir 1990) (“Although the admission
of attorneys pro hac vice is committed to the discretion of the district courts, denial of
admission pro hac vice in criminal cases implicates the constitutional right to counsel of
choice.” (internal citations omitted)).

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        874, 105 S.Ct. 232, 83 L.Ed.2d 161 (1984); Wilson, 761 F.2d at 278–79.6

        “Although there is a presumption in favor of a defendant’s counsel of choice, the right

is not absolute.”7 Counsel of choice “may not ‘be insisted upon in a manner that will obstruct

an orderly procedure in courts of justice, and deprive such courts of the exercise of their

inherent powers to control the same.’”8 If a defendant’s choice of counsel would “burden the

court with retained counsel who was incompetent or unwilling to abide by court rules and

ethical guidelines,” the court need not accept that choice.9 Thus, courts “may consider an

attorney’s ethical fitness before granting a motion to proceed pro hac vice.”10

        In the end, the court “must balance [the] defendant’s constitutional right to retain

counsel of [her] choice against the need to maintain the highest standards of professional

responsibility, the public’s confidence in the integrity of the judicial process and the orderly

administration of justice.”11 Whether to grant the motion for pro hac vice admission is a

close call in this case, but ultimately the balance tips in favor of defendant’s right to select

her counsel. Mr. Bernstein’s past ethical violations do not reach the level of those of


        6
         Id. at 624–25 (footnotes omitted).
        7
         United States v. McKeighan, 685 F.3d 956, 966 (10th Cir. 2012).
        8
         Collins, 920 F.2d at 625 (internal citations omitted).
        9
         Id. (quoting United States v. Panzardi Alvarez, 816 F.2d 813, 818 (1st Cir. 1987)).
        10
         Id. at 626 (citing Panzardi–Alvarez, 879 F.2d 975, 980 (1st Cir. 1989) (denial of pro
hac vice status appropriate where attorney previously violated Fed. R. Crim. P. 44(c) and
harassed judge outside chambers) and Thomas v. Cassidy, 249 F.2d 91, 92 (4th Cir. 1957)
(denial of pro hac vice admission based upon “unlawyerlike conduct” justifiable)).
        11
            Id. (internal citations omitted).

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attorneys denied pro hac vice admission in other published cases.12 The court will grant Mr.

Bernstein admission to this court for purposes of this case, but warns all attorneys entering

their appearances that they will be held to the highest professional standards. Should the

court discover Mr. Bernstein being anything less than completely honest with the court –

either through affirmative statements or knowing omissions – the court will not hesitate to

revoke his pro hac vice status.

        Finally, to ensure defendant is aware of her counsel’s disciplinary history, Mr. Osgood

is directed to provide defendant copies of the following documents forthwith: (1) the pro hac

vice motion and accompanying affidavit in support (ECF doc. 292), (2) the public reprimand

from The Florida Bar (ECF doc. 296-1), and (3) this order. Mr. Osgood shall file a notice

of compliance with this requirement by April 27, 2016.

        IT IS SO ORDERED.

        Dated April 13, 2016, at Kansas City, Kansas.


                                                        s/ James P. O’Hara
                                                       James P. O’Hara
                                                       U.S. Magistrate Judge




        12
         See, e.g., United States v. Howell, 936 F. Supp. 767, 773–74 (D. Kan. 1996)
(revoking pro hac vice admission of attorney who had a history of his pro hac vice
admissions being revoked by other courts and who, when directly questioned about his past
ethical violates, made false and misleading statements in open court); Panzardi–Alvarez, 879
F.2d at 980 (denial of pro hac vice status appropriate where attorney previously violated Fed.
R. Crim. P. 44(c) and harassed judge outside chambers).


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